U.S. DISTRICT COURT

DISTRICT OF NEW HAMPSHIRE
~ JUL 24 2020
UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE FILED

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LIBERTARIAN PARTY OF
NEW HAMPSHIRE, et al

Plaintiffs,

v. Civil No. 1:20-cv-00688-JL

GOVERNOR CHRISTOPHER T.
SUNUNU, Governor of the State of
New Hampshire, in his official capacity,

And
WILLIAM M. GARDNER, Secretary of
State of the State of New Hampshire,

in his official capacity, |

Defendants.

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DEFENDANTS’ AMENDED PRELIMINARY INJUNCTION FINAL EXHIBIT LIST
NOW COMES Governor Christopher T. Sununu, in his official capacity as Governor of
the State of New Hampshire (“Governor”) and William M. Gardner, in his official capacity as
Secretary of State for the State of New Hampshire (“Secretary of State”) (collectively “State”),
by and through their counsel, the New Hampshire Office of the Attorney General, and, per this
Court’s order, respectfully submits this exhibit list in advance of the hearing on the plaintiffs’
motion for preliminary injunction.
I. Expect to Offer
The defendants expect to offer the following exhibits at trial (excluding exhibits to be

used solely for impeachment):
Case 1:20-cv-00688-JL Document 28 Filed 07/24/20 Page 2 of 4

No, | DATE BATES / DEP. Ex. NO. | DESCRIPTION
APR) | n/a n/a Libertarian nomination paper, Congressional
5970 District | (from Libertarian Party of New
rf 2A a Hampshire website)
B (2) n/a n/a Libertarian nomination paper, Congressional
3a? District 2 (from Libertarian Party of New
‘|; Hampshire website)
C (7) 7/16/20 n/a Libertarian Party of New Hampshire Ballot
h 3? Access Drive web page

IL. May Offer
The defendants may offer the following exhibits at trial (excluding exhibits to be used

solely for impeachment):

No. DATE BATES/DEP. | DESCRIPTION
Ex. No.
-D ARI 3/23/20 | n/a Governor’s Emergency Order #16
E OR) 3/26/20 | n/a Governor’s Emergency Order #17
F (RY) 6/15/20. | n/a Governor's Emergency Order #52
Ly. i G (DB) 6/15/20 | n/a Governor’s COVID-19 Reopening Guidance — Beaches
No (updated
6/29/20)
H (TRS) 6/29/20 | n/a Governor’s COVID-19 Reopening Guidance — Food Service
Industry
LMR) | 7/17/20 | n/a Re-open NH Events Facebook Page
J (HQ) 7/17/20 | n/a Re-open NH Independence Day Rally Facebook Post
K (4p) 7/17/20 | n/a Re-open NH About Facebook Page
L (HQ) 5/1/20 n/a Governor's Emergency Order #40

July 21, 2020

Respectfully submitted,

CHRISTOPHER T. SUNUNU,
GOVERNOR OF THE STATE OF NEW
HAMPSHIRE

and

WILLIAM GARDNER, NEW HAMPSHIRE
SECRETARY OF STATE

By their attorneys,

GORDON J. MACDONALD
ATTORNEY GENERAL

/s/ Daniel E. Will
Daniel E. Will, Bar #12176
Solicitor General

/s/Laura E. Lombardi
Laura E. Lombardi, Bar #1282!
Senior Assistant Attorney General

New Hampshire Department of Justice
Office of the Attorney General

33 Capitol Street, Concord, NH 03301-6397
(603) 271-3650
CERTIFICATE OF SERVICE
I, Daniel E. Will, hereby certify that a copy of the foregoing defendants’ preliminary
injunction exhibit list was sent via the court’s e-filing system to Jonathan Meyer, Esquire,

counsel for the Plaintiffs.

July 21, 2020 /s/ Daniel E. Will
Daniel E. Will

